                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION
      New Orleans City v. Purdue Pharma LP, et al.,            )
           E.D. Louisiana C.A. No. 2:18-11486                  )                       MDL No. 2804


            ORDER LIFTING STAY OF CONDITIONAL TRANSFER ORDER


        A conditional transfer order was filed in this action (New Orleans City) on December 6,
2018. Prior to expiration of that order’s 7-day stay of transmittal, plaintiff in New Orleans City filed
a notice of opposition to the proposed transfer. Plaintiff subsequently failed to file the required
motion and brief to vacate the conditional transfer order.

       IT IS THEREFORE ORDERED that the stay of the Panel's conditional transfer order
designated as “CTO-70” filed on December 6, 2018, is LIFTED insofar as it relates to this action.
The action is transferred to the Northern District of Ohio for inclusion in the coordinated or
consolidated pretrial proceedings under 28 U.S.C. § 1407 being conducted by the Honorable Dan
A. Polster


                                                        FOR THE PANEL:



                                                        Jeffery N. Lüthi
                                                        Clerk of the Panel
